       Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 1 of 38




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                   )
REPUBLICAN NATIONAL                )
COMMITTEE,                         )
                                   )
             Plaintiff,            )
                                   )
      v.                           )      Case No. 1:22-cv-00659-TJK
                                   )
NANCY PELOSI, et al.,              )
                                   )
             Defendants.           )
                                   )


           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
           OF PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION


                                       Christopher O. Murray
                                       Julian R. Ellis, Jr. (pro hac vice pending; full
                                       admission pending)
                                       BROWNSTEIN HYATT FARBER SCHRECK LLP
                                       410 17th Street, Suite 2200
                                       Denver, CO 80202
                                       Tel: 303.223.1100
                                       Email: cmurray@bhfs.com
                                               jellis@bhfs.com
                                       Attorneys for Plaintiff Republican National
                                       Committee
            Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 2 of 38




                                                   TABLE OF CONTENTS
TABLE OF AUTHORITIES ...................................................................................................... iv
INTRODUCTION......................................................................................................................... 1
FACTUAL BACKGROUND ....................................................................................................... 1
  I.     H. Res. 503 Authorized the Formation of the Select Committee to Investigate
         the January 6, 2021 Attack on the U.S. Capitol, but It Is Irregularly Constituted. ............. 1
  II.    The Select Committee Subpoenaed Salesforce for Non-Public Information About
         the RNC and Its Donors, Supporters, and Other Partners................................................... 3
  III. The Salesforce Subpoena Threatens the Constitutional Rights of the RNC and
       Its Donors, Supporters, and Other Partners. ....................................................................... 5
  IV. The RNC Filed This Lawsuit to Protect Its Constitutional Rights. ..................................... 7
  V.     Salesforce Initially Agreed Not to Respond to the Subpoena Pending Resolution
         of This Lawsuit but Relented Under Pressure of Contempt. .............................................. 7
LEGAL STANDARD ................................................................................................................... 8
ARGUMENT ................................................................................................................................. 9
  I.     The RNC Is Likely to Succeed on the Merits of Its Claims. ............................................... 9
                  The Salesforce Subpoena violates the First Amendment because it is not
                  tailored to the Select Committee’s purpose. .............................................................. 9
                          The First Amendment freedom of association applies with particular
                          force to political parties and prohibits compelled disclosure of
                          membership lists and internal party planning materials. ............................... 10
                          Compelled disclosure requirements must satisfy exacting scrutiny. .............. 11
                          The Salesforce Subpoena fails exacting scrutiny because its demands
                          are not tailored in support of a substantial governmental interest. .............. 12
                  The Salesforce Subpoena violates the Fourth Amendment because it is
                  unreasonable. ........................................................................................................... 14
                          The Salesforce Subpoena demands materials wholly irrelevant to the Select
                          Committee’s investigation of the events of January 6, 2021. ......................... 15
                          Even if the material demanded is relevant to a valid legislative purpose,
                          the Salesforce Subpoena is still unreasonable under the Fourth Amendment
                          because the Select Committee afforded no opportunity for the RNC to object
                          to the subpoena and provided no means to protect irrelevant internal
                          deliberations and RNC data from being rummaged through. ........................ 16
                  The Salesforce Subpoena serves no valid legislative purpose. ................................ 18

                                                                     ii
            Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 3 of 38




                                            TABLE OF CONTENTS (con’t)
                  The Salesforce Subpoena was not issued in accordance with H. Res. 503. ............ 20
                  The Salesforce Subpoena violates the Stored Communications Act ....................... 22
  II.    The RNC Will Be Irreparably Injured Absent a Preliminary Injunction. .......................... 23
  III. The Balance of Equities and Public Interest Strongly Favor Injunctive Relief. ................ 28
CONCLUSION ........................................................................................................................... 29




                                                                   iii
            Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 4 of 38




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)
Cases
Am. Fed’n of Labor & Cong. of Indus. Orgs. v. FEC,
   333 F.3d 168 (D.C. Cir. 2003) ...........................................................................................10, 11
Americans for Prosperity Found. v. Bonta,
  141 S. Ct. 2373 (2021) .................................................................................................11, 25, 26
Americans for Prosperity Found. v. Harris,
  No. 2:14-CV-09448-R-FFM, 2015 WL 769778 (C.D. Cal. Feb. 23, 2015) ............................24
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  809 F.3d 536 (9th Cir. 2015) ...................................................................................................24
Archdiocese of Wash. v. Wash. Metro. Area Transit Auth.,
   897 F.3d 314 (D.C. Cir. 2018) .............................................................................................9, 24
Buckley v. Valeo,
   424 U.S. 1 (1976) .....................................................................................................................26
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   138 S. Ct. 2206 (2018) .............................................................................................................14
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  68 F.3d 187 (7th Cir. 1995) .....................................................................................................24
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   928 F.3d 1 (D.C. Cir. 2019) .....................................................................................................28
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   561 U.S. 186, 196 (2010) .........................................................................................................11
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   421 U.S. 491 (1975) .............................................................................................................1, 18
Elrod v. Burns,
   427 U.S. 347 (1976) .................................................................................................................24
Eu v. S.F. Cnty. Democratic Cent. Comm.,
   489 U.S. 214 (1989) ...........................................................................................................10, 11
In re Ford Motor Co.,
    110 F.3d 954 (3d Cir. 1997)...............................................................................................27, 29
United States v. Fort,
   443 F.2d 670 (D.C. Cir. 1970) .................................................................................................15
Gordon v. Holder,
   721 F.3d 638 (D.C. Cir. 2013) .....................................................................................24, 28, 29
                                                                    iv
            Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 5 of 38




                                          TABLE OF AUTHORITIES (con’t)

Greatness v. FEC,
   831 F.3d 500 (D.C. Cir. 2016) .................................................................................................24
Karem v. Trump,
   960 F.3d 656 (D.C. Cir. 2020) ...........................................................................................24, 28
Katz v. United States,
   389 U.S. 347 (1967) .................................................................................................................14
Kilbourn v. Thompson,
    103 U.S. 168 (1880) .................................................................................................................18
League of Women Voters of United States v. Newby,
   838 F.3d 1 (D.C. Cir. 2016) .....................................................................................................29
Metro. Life Ins. Co. v. Usery,
   426 F. Supp. 150 (D.D.C. 1976) ..............................................................................................29
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   571 F.3d 1304 (D.C. Cir. 2009) ...............................................................................................24
NAACP v. Alabama ex rel. Patterson,
  357 U.S. 449 (1958) ...........................................................................................................10, 27
NAACP v. Button,
  371 U.S. 415 (1963) ...........................................................................................................10, 11
Nken v. Holder,
   556 U.S. 418 (2009) .............................................................................................................9, 28
O’Connor v. Ortega,
   480 U.S. 709 (1987) .................................................................................................................16
Okla. Press Pub. Co. v. Walling,
   327 U.S. 186 (1946) .................................................................................................................15
People for the Ethical Treatment of Animals, Inc. v. Gittens,
   215 F. Supp. 2d 120 (D.D.C. 2002) .........................................................................................24
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   No. 94 C 6838, 1996 WL 3965 (N.D. Ill. 1996) ......................................................................29
Price v. Barr,
    514 F. Supp. 3d 171 (D.D.C. 2021) .........................................................................................24
Providence J. Co. v. FBI,
   595 F.2d 889 (1st Cir. 1979) ....................................................................................................29
Quinn v. United States,
   349 U.S. 155 (1955) .................................................................................................................18

                                                                    v
            Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 6 of 38




                                          TABLE OF AUTHORITIES (con’t)

Roberts v. United States Jaycees,
   468 U.S. 609 (1984) .................................................................................................................10
In re Sealed Case No. 98-3077,
    151 F.3d 1059 (D.C. Cir. 1998) .........................................................................................27, 29
In re Search of Info. Associated with [redacted]@mac.com Stored at Premises
    Controlled by Apple, Inc.,
    13 F. Supp. 3d 157 (D.D.C. 2014) ...........................................................................................14
Sen. Select Comm. on Ethics v. Packwood,
   845 F. Supp. 17 (D.D.C. 1994) ..........................................................................................16, 17
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   644 F.3d 388 (D.C. Cir. 2011) ...............................................................................................8, 9
Simms v. Dist. of Columbia,
   872 F. Supp. 2d 90 (D.D.C. 2012) ...........................................................................................28
Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs,
   205 F. Supp. 3d 4 (D.D.C. 2016) ...............................................................................................9
Tashjian v. Republican Party of Conn.,
   479 U.S. 208 (1986) .................................................................................................................10
Turner v. U.S. Agency for Glob. Media,
   502 F. Supp. 3d 333 (D.D.C. 2020) .............................................................................24, 28, 29
U.S. Servicemen’s Fund v. Eastland,
   488 F.2d 1252 (D.C. Cir. 1973) .................................................................................................1
Watkins v. United States,
   354 U.S. 178 (1957) .....................................................................................................15, 18, 19
Wheeldin v. Wheeler,
  373 U.S. 647 (1963) .................................................................................................................15
Winter v. NRDC,
   555 U.S. 7 (2008) ...................................................................................................................8, 9
Constitutional Provisions
U.S. Const. amend. I .............................................................................................................. passim
U.S. Const. amend. IV ........................................................................................................... passim
Statutes
52 U.S.C. § 30101(14) .....................................................................................................................5
Stored Communications Act, 18 U.S.C. §§ 2701 to 2712 .....................................................7, 9, 22

                                                                    vi
             Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 7 of 38




                                            TABLE OF AUTHORITIES (con’t)

     § 2702(a) ............................................................................................................................22, 23
     § 2702(a)(1) .............................................................................................................................22
     § 2702(a)(3) .............................................................................................................................22
     § 2702(b) ..................................................................................................................................23
     § 2702(c) ..................................................................................................................................23
     § 2702(c)(1) .............................................................................................................................23
     § 2703(a) ..................................................................................................................................23
     § 2703(b)(1)(B)(i)–(ii) .............................................................................................................23
§ 2711(4) ....................................................................................................................................... 23
Rules
Fed. R. Civ. P. 65(a) ........................................................................................................................8
Other Authorities
167 Cong. Rec. 3355 (2021) .......................................................................................................1, 2
167 Cong. Rec. 3583, 3597 (2021) .................................................................................................2
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Byron Tau, Republican National Committee Files Suit Against House Jan. 6
   Committee, Wall St. J. (Mar. 9, 2022). ......................................................................................3
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   Senate Runoff Races, 11 Alive (Nov. 15, 2020) ......................................................................13
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   No. 8:21cv2946 (M.D. Fla. Feb. 25, 2022)..............................................................................21
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                                                                        vii
             Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 8 of 38




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   Committee’s Effort to Trace Every Dollar Raised and Spent Based on
   Trump’s False Election Claims, Wash. Post (Mar. 8, 2022) ...................................................19
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   Representative Cheney as Select Committee Vice Chair (Sept. 2, 2021) .................................3
Press Release, Nancy Pelosi, Speaker, U.S. House of Representatives, Pelosi
   Statement on Republican Recommendations to Serve on the Select Committee
   to Investigate the January 6th Attack on the U.S. Capitol (July 21, 2021)................................3
Press Release, Republican Nat’l Comm., RNC Members Condemn Violence at
   U.S. Capitol, GOP.com (Jan. 6, 2022) .......................................................................................2
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   Criminal Referrals If ‘Appropriate,’ But That Could Be a Long Way Off,
   CNN (Dec. 21, 2021) ...............................................................................................................19
Zeke Miller, RNC to Spend At Least $20 million on Georgia’s Senate Races,
   Associated Press (Nov. 13, 2020) ............................................................................................14




                                                                     viii
         Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 9 of 38




                                        INTRODUCTION
       When Congress issues a subpoena or request to a third party for another person’s

information or documents, the law allows the person whose information will be exposed to sue in

federal court for an “injunction or declaratory judgment.” U.S. Servicemen’s Fund v. Eastland,

488 F.2d 1252, 1259 (D.C. Cir. 1973), rev’d on other grounds, 421 U.S. 491

(1975). Salesforce.com (“Salesforce”) has been issued just such a subpoena demanding

disclosure of a sweeping set of Republican National Committee (“RNC”) records hosted by

Salesforce in support of various electoral and fundraising activities of the RNC. These records,

demanded by the U.S. House Select Committee to Investigate the January 6th Attack on the U.S.

Capitol (“Select Committee”), include records for tens of millions of RNC supporters, donors,

and other partners with whom the RNC communicates. They also include materials that would

reveal crucial elements of the RNC’s internal deliberations and digital strategy such as metrics

on how certain content performs, what subject lines and text messages lead to contributions, how

certain individuals respond to specific content, and the results of message testing.

       Because the disclosure of these materials will cause major and irreparable constitutional

injury to the RNC, its donors, supporters, and other partners, RNC has brought this suit. And

since Salesforce is now—because of pressure from the Select Committee—unwilling to wait to

produce these documents in the absence of a motion for emergency relief, the RNC brings this

motion for preliminary injunction to prevent the compelled disclosure of these materials by

Salesforce until this case may be resolved on the merits.

                                   FACTUAL BACKGROUND
I.     H. Res. 503 Authorized the Formation of the Select Committee to Investigate the
       January 6, 2021 Attack on the U.S. Capitol, but It Is Irregularly Constituted.
       On January 6, 2021, a mob entered the U.S. Capitol. See H.R. Res. 503 (“H. Res. 503”),

117th Cong., 167 Cong. Rec. 3355 (2021) (describing the January 6th events in establishing the

Select Committee to Investigate the January 6th Attack on the U.S. Capitol). Many in the mob

intended to interfere with Congress’s counting and certification of electoral votes for president


                                                 1
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 10 of 38




and vice president. Id. Some members of the mob attacked Capitol police officers, vandalized

portions of the Capitol itself, and forced their way into the Senate Chamber. See id. The RNC

immediately denounced the violence and described the events of January 6th as “an attack on our

country and its founding principles.” Press Release, Republican Nat’l Comm., RNC Members

Condemn Violence at U.S. Capitol, GOP.com (Jan. 6, 2022), https://bit.ly/3tRSLOE.

       Within weeks of the attack, leadership in the U.S. House of Representatives and Senate

began to discuss the possibility of a joint congressional committee to investigate the attack.

When these negotiations broke down, House Speaker Nancy Pelosi announced her intention to
form a House-only select committee for the purpose of investigating the events of January 6,

2021. On June 30, 2021, the House of Representatives adopted H. Res. 503, establishing the

Select Committee. H. Res. 503 § 1. Only two Republican Members, Liz Cheney of Wyoming

and Adam Kinzinger of Illinois, voted in favor of H. Res. 503. See 167 Cong. Rec. 3355 (2021).

       H. Res. 503 instructed the Speaker of the House to appoint thirteen members to the Select

Committee, five of whom “shall be appointed after consultation with the minority leader.” H.

Res. 503 § 2(a). Speaker Pelosi appointed Rep. Bennie Thompson of Mississippi to serve as

Chair of the Select Committee and appointed six additional Democrat members: Rep. Zoe

Lofgren of California, Rep. Adam Schiff of California, Rep. Peter Aguilar of California, Rep.

Stephanie Murphy of Florida, Rep. Jamie Raskin of Maryland, and Rep. Elaine Luria of

Virginia. 167 Cong. Rec. 3583, 3597 (2021). House Republican Leader Kevin McCarthy

recommended five Republican members to serve on the Select Committee, consistent with H.

Res. 503: Rep. James E. Banks of Indiana to serve as Ranking Member, and Reps. Rodney L.

Davis of Illinois, James D. Jordan of Ohio, Kelly M. Armstrong of North Dakota, and Troy E.

Nehls of Texas. 167 Cong. Rec. 3805, 3819–20 (2021).

       In what she acknowledged was an “unprecedented decision,” Speaker Pelosi refused to

appoint Rep. Banks, Leader McCarthy’s choice for Ranking Member, and Rep. Jordan to the

Select Committee. Press Release, Nancy Pelosi, Speaker, U.S. House of Representatives, Pelosi

Statement on Republican Recommendations to Serve on the Select Committee to Investigate the

                                                 2
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 11 of 38




January 6th Attack on the U.S. Capitol (July 21, 2021), https://bit.ly/3CSAm8A. Instead,

Speaker Pelosi appointed Rep. Cheney and Rep. Kinzinger— the only two Republicans who

voted in favor of H. Res. 503—and left the other seats vacant after Leader McCarthy rescinded

his recommendations in protest. See 167 Cong. Rec. 3805, 3819–20 (2021).

       House Resolution 8 (“H. Res. 8”), adopted January 4, 2021, sets forth the rules of the

117th Congress. Section 3(b)(1) of H. Res. 8 requires that the chair of a standing committee may

order the taking of depositions, including under a subpoena, but only upon “consultation with the

ranking minority member of such committee.” H. Res. 503 expressly adopts this requirement of
consultation with the ranking minority member before ordering a deposition under a subpoena

from the Select Committee. H. Res. 503 § 5(c)(6)(A). But the Select Committee does not include

a ranking minority member. The Select Committee does have a “Vice-Chair” in Rep. Cheney.

Rep Cheney was named to this position by Chairman Thompson on September 2, 2021. See

Press Release, Bennie Thompson, Chairman, Select Comm. to Investigate the Jan. 6th Attack on

the U.S. Capitol, Chairman Thompson Announces Representative Cheney as Select Committee

Vice Chair (Sept. 2, 2021), https://bit.ly/3CIaHiO.

II.    The Select Committee Subpoenaed Salesforce for Non-Public Information About
       the RNC and Its Donors, Supporters, and Other Partners.
       The Select Committee has issued no less than 89 subpoenas targeting information related

to dozens of individuals and groups. See Mychael Schnell & Monique Beals, These People Have
Been Subpoenaed By the Jan. 6 Panel, The Hill, https://bit.ly/3MSP3gws (last visited Mar. 14,

2022). Indeed, there are approximately 26 lawsuits pending in federal courts across the country

challenging the enforcement of subpoenas issued by the Select Committee. See Byron Tau,

Republican National Committee Files Suit Against House Jan. 6 Committee, Wall St. J. (Mar. 9,

2022), https://on.wsj.com/3KN8NQA/.

       On February 23, 2022, the Select Committee served the Salesforce Subpoena on

Salesforce. (See Decl. of C. Schaeffer (“Schaeffer Decl.”), Ex. A (hereinafter the “Salesforce

Subpoena”).) The Salesforce Subpoena includes a sweeping set of document requests for RNC

                                                3
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 12 of 38




records hosted by Salesforce in support of various electoral and fundraising activities of the

RNC, including documents “referring or relating to” the following five categories:

       [Item No. 1] All performance metrics and analytics related to email campaigns by
       or on behalf of Donald Trump for President, Inc. (“Trump Campaign”), the
       Republican National Committee (“RNC”), or the Trump Make America Great
       Again Committee (“TMAGAC”), including but not limited to delivery metrics
       (send rates and bounce rates), engagement metrics (opens, open rates, click rates,
       and click-to-open rates), time attributes, and message attributes.
       [Item No. 2] All records related to login sessions by individuals associated with the
       Trump Campaign or the RNC into Salesforce’s Marketing Cloud platform,
       including all related metadata.
       [Item No. 3] For the time period of January 1, 2021, to January 31, 2021, all
       documents and communications concerning investigative reports or analyses
       conducted by Salesforce regarding the protests, marches, public assemblies, rallies,
       or speeches in Washington, D.C. on January 5, 2021, or January 6, 2021
       (collectively, the “Washington Rallies”).
       [Item No. 4] For the time period of November 3, 2020, to January 31, 2021, all
       documents and communications concerning investigative reports or analyses
       conducted by Salesforce regarding the use of Salesforce’s platforms by the RNC or
       the Trump Campaign and related materials.
       [Item No. 5] For the time period of November 3, 2021, all communications
       between Salesforce representatives and representatives of the RNC or the Trump
       Campaign concerning the 2020 Presidential election, the continued use of
       Salesforce’s platforms by the RNC or the Trump Campaign, the Washington
       Rallies, or any of the facts and circumstances of the topics that are the subject of
       any of the above requests.
(Salesforce Subpoena at 3.)

       The Select Committee provided no notification to the RNC that it had subpoenaed

Salesforce and demanded RNC data and information. (Decl. of J. Riemer (“Riemer Decl.”) ¶ 9.)

Rather, the RNC first learned of the Subpoena on February 24, 2022, when Salesforce contacted

the RNC and informed its customer of the request, as required by the parties’ contract. (See id.

¶ 8.) To this day, no member or staff of the Select Committee has reached out to the RNC about

the Salesforce Subpoena. (Id. ¶ 10.) Indeed, the Select Committee appears to be picking and

choosing when it engages with the RNC directly since it has contacted current and former RNC

staff to conduct voluntary interviews with the Select Committee regarding the RNC’s work,


                                                 4
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 13 of 38




including about RNC fundraising activities. (Id. ¶ 7.) The RNC has been wholly cooperative with

the Committee to date in facilitating meetings. (Id.)

III.   The Salesforce Subpoena Threatens the Constitutional Rights of the RNC and Its
       Donors, Supporters, and Other Partners.
       The RNC is the national party committee of the Republican Party. It is an unincorporated

organization registered with the Federal Election Commission (“FEC”) under 52 U.S.C.

§ 30101(14). The RNC exists to advance the Republican Party and its electoral prospects. It

conducts party business, builds party infrastructure, supports Republican candidates and state

parties, advances Republican policy goals, and raises funds to support these efforts. (Riemer

Decl. ¶ 6.)

       Digital communication is a critical component of the RNC’s ability to conduct its

political activities. (Schaeffer Decl. ¶ 11.) The RNC relies upon its ability to interact virtually

with millions of Americans through email and other digital avenues to recruit volunteers,

persuade voters to support Republican candidates and policies, encourage voting through its “Get

Out the Vote” (“GOTV”) activities, convey political messaging, and raise funds. (Id.) The RNC

routinely engages such individuals with fundraising appeals, surveys, petition requests, and other

messaging in furtherance of its political mission. (Id.) In recent years, the RNC has come to

increasingly rely on digital efforts for fundraising to more effectively reach its members and

convey its political messaging to supporters. (Id.) The RNC communicates digitally with tens of
millions of individuals each month. (Id. ¶ 9.) The vast majority of these communications occur

over email. (Id.)

       Salesforce is a key data and digital communications vendor to the RNC. (Id. ¶ 14.) The

Salesforce platforms utilized by the RNC are an integral part of the RNC’s political operation.

(Id.) These platforms assist the RNC in its core political functions such as recruiting volunteers,

conveying political messaging in support of the RNC’s preferred candidates and policies, GOTV

efforts, and fundraising. (Id.) Salesforce houses data and records for tens of millions of RNC

donors, supporters, and other partners with whom the RNC communicates. (Id. ¶ 15.) The RNC

                                                  5
         Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 14 of 38




uses three platforms provided by Salesforce: the “Sales Cloud,” “Marketing Cloud” services, and

“Datorama” platform. (Id. ¶ 16.) Sales Cloud is the RNC’s customer relationship management

(“CRM”) platform, and maintains all RNC data regarding private individuals with whom the

RNC has interacted through its digital communications and those interactions (i.e., user record

data). (Id.) The Marketing Cloud serves as the RNC’s email service provider (“ESP”), through

which data flows in execution of RNC email sends. (Id.) The Datorama platform connects,

unifies, and maintains the RNC’s data across platforms. (Id.) The RNC maintains highly granular

data across the Salesforce platforms, including data related to RNC supporters and other private
individuals with whom it has engaged through digital communication. (Id. ¶ 17.) This includes,

but is not limited to, email addresses (and data related to the response to e-mails), donations

(including from donors not subject to disclosure to the FEC), volunteer activities, and responses

to petitions and surveys. (Id. ¶ 17a–k.)

        Between November 3, 2020 and January 6, 2021, the RNC was engaged in political

operations that were separate and apart from the 2020 presidential election. (Id. ¶ 21.) For

instance, during this time, the RNC engaged in extensive political activity in connection with the

two 2021 U.S. Senate runoff elections in Georgia, in which the RNC was heavily invested

because their outcome determined party control of the Senate. (Id.) The RNC also engaged in

GOTV efforts for the presidential election, which had nothing to do with any post-election

recount or litigation efforts. (Id.)

        The Salesforce Subpoena demands material that would provide unfettered access to

competitive and highly confidential information regarding RNC digital, political, and fundraising

strategy, as well as personal information relating to millions of its supporters. (Id. ¶ 22.) The

Salesforce Subpoena also demands materials that would reveal crucial elements of the RNC’s

digital strategy such as metrics on how certain content performs, what subject lines and text

messages lead to contributions, how certain individuals respond to specific content, and the

results of message testing. (Id. ¶ 25.) The proprietary data sought by the Salesforce Subpoena is

of enormous monetary value to the RNC. (Id. ¶ 27.)

                                                  6
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 15 of 38




IV.    The RNC Filed This Lawsuit to Protect Its Constitutional Rights.
       On March 9, 2022, the RNC filed this lawsuit against Speaker Pelosi; the Select

Committee; and the Select Committee’s members, Rep. Bennie Thompson, Rep. Elizabeth

Cheney, Rep. Adam Schiff, Rep. Jamie Raskin, Rep. Zoe Lofgren, Rep. Elaine Luria, Rep. Peter

Aguilar, Rep. Stephanie Murphy, and Rep. Adam Kinzinger. (See Compl. ¶¶ 11–22.) The RNC

amended its Complaint on March 15, 2022, to add Salesforce as a defendant after Salesforce

informed the RNC that it intended to respond to the Salesforce Subpoena absent an application

for preliminary relief from this Court. (See Am. Compl. ¶ 23.)

       The RNC’s suit seeks declaratory and injunctive relief to prohibit the enforcement of the

Salesforce Subpoena because it seeks non-public information on Republican donors, volunteers,

and supporters and the internal deliberative processes of the RNC in violation of the Constitution

and federal law. (Id. ¶ 1.) The Select Committee actions are unlawful because (1) the Salesforce

Subpoena violates the RNC’s First Amendment associational and speech rights because the

Salesforce Subpoena serves no valid legislative purpose (id. ¶¶ 74–90); (2) the Salesforce

Subpoena exceeds the lawfully authorized purpose of the Select Committee, as full compliance

with such subpoena would violate the RNC’s and its supporters’ Fourth Amendment protection

against unlawful search and seizure (id. ¶¶ 91–102); (3) the Select Committee has exceeded its

authority to issue a subpoena (id. ¶¶ 103–15); (4) the Select Committee lacks necessary

congressional authorization (id. ¶¶ 116–24); (5) the Salesforce Subpoena is excessively broad

and unduly burdensome (id. ¶¶ 125–33); and (6) the Salesforce Subpoena violates the Stored

Communications Act (id. ¶¶ 137–42). The RNC therefore seeks a declaration that the Salesforce

Subpoena violates the Constitution and federal law and seeks a preliminary and permanent

injunction enjoining enforcement of the Subpoena. (See id., Prayer for Relief.)

V.     Salesforce Initially Agreed Not to Respond to the Subpoena Pending Resolution of
       This Lawsuit but Relented Under Pressure of Contempt.
       After Salesforce notified the RNC of the Salesforce Subpoena on February 24, 2022,

Salesforce and RNC conferred on RNC’s objections to the Subpoena and its intention to file suit


                                                7
         Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 16 of 38




to protect its constitutional rights. (Decl. of C. Murray (Murray Decl.) ¶ 7.) Salesforce agreed to

withhold production during the pendency of any RNC lawsuit challenging the authority of the

Select Committee to subpoena the materials demanded so long as Salesforce received notice of

such suit before its deadline to comply with the Salesforce Subpoena. (Id. ¶ 8.) Accordingly, at

8:30am on March 9, 2022, the RNC informed Salesforce it would be filing this lawsuit. (Id. ¶ 9.)

        Nonetheless, late in the afternoon on March 10, 2022, Salesforce informed the RNC that,

after discussions with staff for the Select Committee during which staff took the position that the

RNC’s initiation of this action did not relieve Salesforce of its obligations under the Salesforce
Subpoena, it was no longer willing to withhold production during the pendency of this matter.

(Id. ¶ 10.)

        Salesforce also indicated that the Select Committee had extended its deadline for

production until on Wednesday, March 16, 2022, and that it agreed to move Salesforce’s

deposition to Wednesday, March 23, 2022. (Id. ¶ 11.) Salesforce represented to the RNC that

absent a pending motion for preliminary relief from this Court, it would begin to produce

documents to the Select Committee in compliance with the Salesforce Subpoena at 10:00am on

Wednesday, March 16, 2022. (Id. ¶ 12.)

        The RNC now files this motion for a preliminary injunction.

                                        LEGAL STANDARD
        To obtain a preliminary injunction under Federal Rule of Civil Procedure 65(a), the

moving party “must establish [1] that [it] is likely to succeed on the merits, [2] that [it] is likely

to suffer irreparable harm in the absence of preliminary relief, [3] that the balance of equities tips

in [its] favor, and [4] that an injunction is in the public interest.” Sherley v. Sebelius, 644 F.3d

388, 392 (D.C. Cir. 2011) (quoting Winter v. NRDC, 555 U.S. 7, 20 (2008)). Where the federal

government is the opposing party, the balance of equities and public interest factors merge. Nken

v. Holder, 556 U.S. 418, 435 (2009).

        Before the U.S. Supreme Court’s decision in Winter, the D.C. Circuit applied a “sliding-

scale” approach to preliminary injunctions under which “a strong showing on one factor could

                                                   8
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 17 of 38




make up for a weaker showing on another.” Sherley, 644 F.3d at 392. Since Winter, however, the

D.C. Circuit has “suggested, without deciding, that Winter should be read to abandon the sliding-

scale analysis in favor of a ‘more demanding burden’ requiring plaintiffs to independently

demonstrate both a likelihood of success on the merits and irreparable harm.” Standing Rock

Sioux Tribe v. U.S. Army Corps of Eng’rs, 205 F. Supp. 3d 4, 26 (D.D.C. 2016) (quoting Sherley,

644 F.3d at 392–93); see also Archdiocese of Wash. v. Wash. Metro. Area Transit Auth., 897

F.3d 314, 334 (D.C. Cir. 2018) (observing Winter may be “properly read to suggest a ‘sliding

scale’ approach to weighing the four factors be abandoned”). The RNC can show both a
likelihood of success on the merits and irreparable harm; thus, it is entitled to a preliminary

injunction under either approach.

                                           ARGUMENT
I.     The RNC Is Likely to Succeed on the Merits of Its Claims.
       The RNC is likely to succeed on the merits of its claims that the Salesforce Subpoena’s

expansive demands (a) violate the RNC’s associational rights under the First Amendment, (b)

violate the RNC’s rights under the Fourth Amendment, (c) are not in support of a valid

legislative purpose, (d) were not made in compliance with H. Res. 503, and (d) violate the Stored

Communications Act, 18 U.S.C. §§ 2701 to 2712.

               The Salesforce Subpoena violates the First Amendment because it is not
               tailored to the Select Committee’s purpose.
       The First Amendment prohibits the government from “abridging the freedom of speech,

or of the press; or the right of the people peaceably to assemble, and to petition the Government

for a redress of grievances.” U.S. Const. amend. I. The Supreme Court has “long understood as

implicit in the right to engage in activities protected by the First Amendment a corresponding

right to associate with others.” Roberts v. United States Jaycees, 468 U.S. 609, 622 (1984).

Protected association furthers “a wide variety of political, social, economic, educational,

religious, and cultural ends,” and “is especially important in preserving political and cultural

diversity and in shielding dissident expression from suppression by the majority.” Id.


                                                  9
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 18 of 38




                        The First Amendment freedom of association applies with particular force
                        to political parties and prohibits compelled disclosure of membership lists
                        and internal party planning materials.
        The ability of citizens to associate into and through political parties is encompassed

within this right. The First Amendment protects “a political party’s discretion in how to organize

itself, conduct its affairs, and select its leaders.” Eu v. S.F. Cnty. Democratic Cent. Comm., 489

U.S. 214, 230 (1989); see also Tashjian v. Republican Party of Conn., 479 U.S. 208, 224 (1986)

(“The Party’s determination of the boundaries of its own association, and of the structure which

best allows it to pursue its political goals, is protected by the Constitution.”). This First

Amendment protection extends to internal deliberations concerning how to advance a political

message. See Am. Fed’n of Labor & Cong. of Indus. Orgs. v. FEC, 333 F.3d 168, 178 (D.C. Cir.

2003) (concluding Democratic National Committee and AFL-CIO have “substantial First

Amendment interests in [preventing] the disclosure of their own internal materials” related to

FEC investigation).

        While Government infringement of this freedom of association “can take a number of

forms,” Jaycees, 468 U.S. at 622, compelled disclosure of affiliation with groups engaged in

political activity or other advocacy “may constitute as effective a restraint on freedom of

association as [other] forms of governmental action.” NAACP v. Alabama ex rel. Patterson, 357

U.S. 449, 462 (1958) (“NAACP v. Alabama”). NAACP v. Alabama involved an effort to oust the

NAACP from the state of Alabama. Id. at 452. In support of this effort, the Alabama Attorney

General demanded the NAACP’s membership lists. Id. at 453. Recognizing that “[e]ffective

advocacy of both public and private points of view, particularly controversial ones, is undeniably

enhanced by group association,” id. at 460, and noting “the vital relationship between freedom to

associate and privacy in one’s associations,” id. at 462, the Supreme Court held that the First

Amendment prohibited the compelled disclosure of the membership lists, id. at 466. Just last

year, the Supreme Court held that California’s attempt to compel disclosure of the major donors

to tax-exempt organizations operating in the state violated the First Amendment rights of these

organizations. See Americans for Prosperity Found. v. Bonta, 141 S. Ct. 2373, 2389 (2021). In

                                                  10
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 19 of 38




so holding, the Court noted that “the protections of the First Amendment are triggered not only

by actual restrictions on an individual’s ability to join with others to further shared goals. The

risk of a chilling effect on association is enough, ‘[b]ecause First amendment freedoms need

breathing space to survive.’” Id. (quoting NAACP v. Button, 371 U.S. 415, 433 (1963)).

       The D.C. Circuit has expressly recognized that political parties’ First Amendment right to

association includes security in their internal materials and documents. In American Federation

of Labor & Congress of Industrial Organizations v. FEC, the D.C. Circuit held that the FEC’s

regulation compelling public disclosure of Democratic National Committee and AFL-CIO
internal planning materials obtained in an investigation violated the First Amendment rights of

the political party and the labor union. 333 F.3dat 179. The court expressly accepted that, while

compelled disclosure requirements are less direct restrictions on a party’s rights than the

regulation of political group leadership or structure, compelled disclosure similarly frustrates a

group’s decisions as to “how to organize themselves, conduct their affairs, and select their

leaders,” as well as their selection of a “message and the best means to promote that message.”

Id. (quoting Eu, 489 U.S. at 230–31 & n.21) (internal brackets omitted).

                       Compelled disclosure requirements must satisfy exacting scrutiny.
       In Bonta, the Supreme Court confirmed that where a compelled disclosure requirement

implicates First Amendment associational interests, the disclosure requirement must meet

exacting scrutiny. 141 S. Ct. at 2383. This review requires that the proposed disclosure bears a

substantial relationship to a sufficiently important governmental interest. Id. (citing Doe v. Reed,

561 U.S. 186, 196 (2010)). Bonta clarified that exacting scrutiny requires that the disclosure

requirement “be narrowly tailored to the government’s asserted interest.” Id. Hence, in order for

the Salesforce Subpoena to survive this challenge, it must have been issued in support of a

sufficiently important governmental interest, and must be tailored to that interest.




                                                 11
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 20 of 38




                       The Salesforce Subpoena fails exacting scrutiny because its demands are
                       not tailored in support of a substantial governmental interest.
       For a governmental interest to be substantial, it must first be lawful. The RNC does not

question that a lawful investigation into the events of January 6, 2021, represents a substantial

governmental interest. Indeed, the RNC has consistently condemned and maintained that the

events of that day were an appalling attack on our country and its founding principles. RNC

Members Condemn Violence, supra; Ronna McDaniel (@GOPChairwoman), Twitter (Jan. 6,

2021, 1:11 PM), https://bit.ly/36itVzh. Those responsible for the events of that day should be—

and largely are—being held responsible through the country’s criminal justice system. See, e.g.,

Nik Popli & Julia Zorthian, What Happened to Jan. 6 Insurrectionists Arrested in the Year Since

the Capitol Riot, Time (Jan. 6, 2022), https://bit.ly/3q3XZWf; John Bellinger, The D.C. District

Court and the Jan. 6 Cases, Lawfare Blog (Jan. 3, 2022), https://bit.ly/3IgroTz; Capitol Breach

Cases, U.S. Dep’t of Justice, https://bit.ly/36kGWsi (last visited Mar. 14, 2022) (collecting

cases). While the governmental interest in investigation regarding the events of January 6th by

the proper authorities is clearly substantial, under the Constitution, it is law enforcement and the

Executive Branch that must pursue such an investigation, not Congress and the Select

Committee. As argued in subsection I.C infra, the Select Committee did not issue the Salesforce

Subpoena in support of a valid legislative purpose as required for the exercise of Congress’s

limited subpoena power. Moreover, as argued in subsection I.D infra, even if the Select
Committee could be said to have a valid legislative purpose, it has not authorized the Salesforce

Subpoena in the manner required by its authorizing legislation, H. Res. 503.

       However, the Court need not pass on these broad questions of the Select Committee’s

authority to enter a preliminary injunction here because the Salesforce Subpoena is not at all

tailored to the governmental interest in an investigation into the events of January 6th. This lack

of tailoring, combined with the fact that the Salesforce Subpoena seeks materials documenting

non-public information regarding RNC donors, supporters, and other partners, as well as




                                                 12
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 21 of 38




documents revealing internal deliberative processes of the RNC, renders the Salesforce

Subpoena unenforceable under exacting scrutiny.

        As detailed in the Declaration of Christian Schaeffer, the first two items in the Salesforce

Subpoena demand records that would likely result in the disclosure of data and records for tens

of millions of RNC donors, supporters, and other partners with whom the RNC communicates.

(Schaeffer Decl. ¶ 15, 17.a–k.). This data is “highly granular” including “[a]ll email addresses

acquired by the RNC” including from volunteers, individuals contacted through voter

registration drives, GOTV efforts, and coalition signups. (Id. ¶ 17.a.). The data would include
information on all donors to the RNC, including the millions of donors who have given less than

$200.00 in a year to the RNC and who are therefore not disclosed to the FEC. (Id. ¶ 17.b.) The

RNC records demanded from Salesforce would also include information on how individuals

responded to surveys, petitions, information on specific volunteer activities supporting the RNC,

and even their voter histories. (Id. ¶ 17.i, 19.)

        The production of this data would cause significant harm to the RNC’s operations and to

the RNC’s voters and supporters. The data and analytics hosted by Salesforce, if produced as

demanded by the Select Committee, could be used to create a mosaic of the RNC’s confidential,

and highly sought after, digital political strategy. (Id. ¶ 18.) The data and analytics could also be

used to create a mosaic of the RNC’s supporters’ intimate political activities and beliefs. (Id.)

Information of this nature could easily facilitate reprisals and harassment of RNC supporters.

        Beyond the sensitive nature of the data, by requesting all data for the period of November

3, 2020 through January 6, 2021, the Select Committee unquestionably includes within its

dragnet materials bearing no relationship to the events of January 6, 2021. For example, for

almost the entire period requested, the RNC was engaged in extensive political activity in

connection with the two 2021 U.S. Senate runoff elections in Georgia. (Id. ¶ 21.) That the RNC

was heavily involved in these races was well-known and unsurprising given the races’ outcomes

determined party control of the Senate. (Id.) See also Chenue Her, Republicans Commit At Least

$20 million, 600 Staffers in Georgia Senate Runoff Races, 11 Alive (Nov. 15, 2020),

                                                    13
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 22 of 38




https://bit.ly/3w9VHsv; Zeke Miller, RNC to Spend At Least $20 million on Georgia’s Senate

Races, Associated Press (Nov. 13, 2020), https://bit.ly/37yam6O. By demanding these materials,

the Select Committee demonstrates it has utterly failed to tailor the Salesforce Subpoena. It

therefore necessarily fails exacting scrutiny.

       Finally, the RNC acknowledges that there may be some documents responsive to items

three, four, and five in the Salesforce Subpoena that are not RNC records, but are truly

documents generated by and held by Salesforce. Unfortunately, the nature and breadth of the

Salesforce Subpoena mean that in each of the final three categories of documents there are
certain to be materials which either contain or substantially reflect RNC data subject to First

Amendment protection. For this reason, the RNC must, at a minimum, be permitted to review

non-privileged material Salesforce believes may be responsive to items three, four, and five so

the RNC can lodge any objections on a document-by-document basis before their production.

               The Salesforce Subpoena violates the Fourth Amendment because it is
               unreasonable.
       The Fourth Amendment to the Constitution prohibits the government from conducting

unreasonable searches and seizures of a person’s house, papers, and effects. U.S. Const. Amend.

IV. The Fourth Amendment generally protects a person’s reasonable privacy expectations. Katz

v. United States, 389 U.S. 347, 351–53 (1967). As established above, a political party may

reasonably expect nonpublic information about its donors, supporters, volunteers, and internal
deliberative processes to remain private. This is true even if a third party like Salesforce

temporarily stores some of this data. See Carpenter v. United States, 138 S. Ct. 2206, 2217

(2018). Ordinarily, any government seizure of such information would be subject to the

requirement that the government secure a search warrant authorized by a competent magistrate

on an appropriate showing of probable cause. See, e.g., In re Search of Info. Associated with

[redacted]@mac.com Stored at Premises Controlled by Apple, Inc., 13 F. Supp. 3d 157, 163

(D.D.C. 2014).



                                                 14
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 23 of 38




       Congressional subpoenas are not exempt from the requirements of the Fourth

Amendment. Okla. Press Pub. Co. v. Walling, 327 U.S. 186, 209 (1946); Watkins v. United

States, 354 U.S. 178, 188 (1957). Indeed, this circuit has observed that “an unreasonable search

and seizure is no less illegal if conducted pursuant to a subpoena of a congressional

subcommittee than if conducted by a law enforcement official.” United States v. Fort, 443 F.2d

670, 678 (D.C. Cir. 1970). Courts analyzing congressional subpoenas in light of the Fourth

Amendment generally require that the congressional subpoena—which will effect a search

and/or a seizure—be “reasonable.” That is, (1) the subpoena must demand material reasonably
relevant to a valid legislative purpose, Watkins, 354 U.S. at 200–01, and (2) must be issued

consistent with the legislation authorizing it, see Wheeldin v. Wheeler, 373 U.S. 647, 649–51

(1963) (holding no private right of action for damages arising out of congressional subpoena

issued by investigator without approval of House Committee on Unamerican Activities). The

lack of any valid legislative purpose and the Select Committee’s irregular issuance of the

subpoena are argued below. However, as with the RNC’s First Amendment claim, the Court

need not reach these broad questions of the Select Committee’s authority and propriety in issuing

the Salesforce Subpoena to enter a preliminary injunction. The Salesforce Subpoena is not

reasonable under the Fourth Amendment because it demands materials wholly irrelevant to the

events of January 6, 2021, and the Select Committee has provided no opportunity for the RNC to

object to the Subpoena or to protect the high volume of irrelevant and sensitive data from review

by the Select Committee.

                      The Salesforce Subpoena demands materials wholly irrelevant to the
                      Select Committee’s investigation of the events of January 6, 2021.
       The Salesforce Subpoena includes at least three unreasonably broad demands. First, item

one requires Salesforce to produce essentially all information on RNC email campaigns over a

two-month period. This demand will capture immense quantities of data wholly unrelated to the

Select Committee’s investigation of the events of January 6, 2021. For example, it will include

data on thousands of emails sent relating to the Georgia U.S. Senate runoff elections held on

                                                15
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 24 of 38




January 5, 2021. (Schaeffer Decl. ¶ 21.) Second, item two demands the production of all

information regarding the RNC’s use of the Salesforce Marketing Cloud platform over the same

two-month period. This platform serves as the RNC’s email service provider and will similarly

include volumes of information completely unrelated the events of January 6, 2021. (Id. ¶ 16.)

Third, items four and five demand communications between the RNC and Salesforce over an

almost three-month period and “analyses conducted by Salesforce regarding the use of

Salesforce’s platforms by the RNC … and related materials.” (Salesforce Subpoena at 3.)

Because of their breadth, these requests will certainly capture irrelevant information within the
dragnet of items one and two and possibly other irrelevant material.

                       Even if the material demanded is relevant to a valid legislative purpose,
                       the Salesforce Subpoena is still unreasonable under the Fourth
                       Amendment because the Select Committee afforded no opportunity for the
                       RNC to object to the subpoena and provided no means to protect
                       irrelevant internal deliberations and RNC data from being rummaged
                       through.
       Where a congressional subpoena seeks information reasonably related to a valid

legislative purpose, a court must nonetheless “[balance] the nature and quality of the intrusion on

the individual’s Fourth Amendment interests against the importance of the governmental

interests alleged to justify the intrusion.” Sen. Select Comm. on Ethics v. Packwood, 845 F. Supp.

17, 22 (D.D.C. 1994) (quoting O’Connor v. Ortega, 480 U.S. 709, 719 (1987)). Here, even if this

Court determines the Salesforce Subpoena demands information reasonably related to a valid

legislative purpose, it must balance the RNC’s reasonable expectations of privacy in its First

Amendment protected material against the Select Committee’s interest in examining these

materials, and the manner of the Select Committee’s proposed examination. The manner of the

proposed examination of the RNC’s First Amendment protected data reveals the Salesforce

Subpoena is unreasonable under the Fourth Amendment.

       Initially, the Select Committee provided the RNC with no notice of the Salesforce

Subpoena. (Riemer Decl. ¶ 9.) RNC only learned of the Salesforce Subpoena from Salesforce.

(Id. ¶ 8.) The RNC has been provided no opportunity to object to the Salesforce Subpoena or

                                                16
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 25 of 38




otherwise lodge claims of privilege or legal protection. And, while Salesforce initially committed

to withhold production pending the resolution of this lawsuit, the Select Committee took the

position that Salesforce could not wait to respond to the Salesforce Subpoena until the resolution

of this case. (See Murray Decl. ¶ 10.) Finally, the Select Committee has put in place no

safeguards to protect the associational rights of the RNC, its donors, volunteers, members, and

supporters. The Select Committee has not established any provisions for a taint team or

analogous filter for privileged information or other protected information. The entirety of the

demanded information, including that which is constitutionally or otherwise protected, will be
turned over to the Committee to do with as it pleases.

       The Select Committee’s approach stands in stark contrast to the procedure approved by

this court in Packwood. There, the Senate’s Select Committee on Ethics sought a U.S. Senator’s

personal diaries in support of an ethics investigation of him. Packwood, 845 F. Supp. at 20.

Despite the fact that the Senator was the target of the investigation and the fact—recognized by

the court—that the Senate Select Committee on Ethics may be the only tribunal with authority to

punish the Senator’s misconduct, the Select Committee in that case “propose[d] to conduct a

focused, temporally limited review of a fraction of the diaries of most recent origin with many

passages masked to protect the most vital of Senator Packwood’s interests in privacy.” Id. at 22.

The Select Committee in Packwood further provided that the examination of the Senator’s

diaries would “occur in the presence of Senator Packwood’s counsel, and the original diaries will

be returned immediately to Senator Packwood, marked only to identify the entries perceived as

relevant by the Committee for Senator Packwood to copy for it.” Id.

       If such protections can be afforded for the diaries of a target of a congressional ethics

investigation, surely the First Amendment protected materials of one of the nation’s two major

political parties and its donors, supporters, and other partners could be afforded some protection

from wholesale “rummage” by the Select Committee. That the Select Committee elected to

eschew any such protections for the RNC demonstrates that even if the Salesforce Subpoena



                                                17
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 26 of 38




were reasonably related to a legitimate legislative purpose—and it is not—it is nevertheless

unreasonable under the Fourth Amendment.

               The Salesforce Subpoena serves no valid legislative purpose.
       The Salesforce Subpoena lacks a legitimate legislative purpose and thus violates the

Constitution and separation of powers. The requirement that a congressional subpoena be issued

in service of a “valid legislative purpose” flows from the Constitution. “The powers of Congress

… are dependent solely on the Constitution,” and “no express power in that instrument” allows

Congress to investigate individuals or to issue boundless records requests. Kilbourn v.

Thompson, 103 U.S. 168, 182–89 (1880); see also Watkins, 354 U.S. at 200 (“We have no doubt

there is no congressional power to expose for the sake of exposure.”). Congress’s power to

investigate “is justified solely as an adjunct to the legislative process.” Watkins, 354 U.S. at 197.

“Congress is not invested with a general power to inquire into private affairs. The subject of any

inquiry always must be one on which legislation could be had.” Eastland v. U.S. Servicemen’s

Fund, 421 U.S. 491, 504 n.15 (1975); see also Quinn v. United States, 349 U.S. 155, 161 (1955)

(“[T]he power to investigate” does not “extend to an area in which Congress is forbidden to

legislate.”). For this reason, congressional subpoenas may not be used in pursuit of “any of the

powers of law enforcement.” Quinn, 349 U.S. at 161. Congressional investigations conducted

“for the personal aggrandizement of the investigators” or “to punish those investigated,” are

“indefensible.” Watkins, 354 U.S. at 187. The Select Committee’s limited purposes and

authorized activity are established by H. Res. 503. This resolution provides that the Select

Committee’s investigative “purpose” is: (1) “[t]o investigate and report upon the facts,

circumstances, and causes” relating to January 6, as well as “influencing factors”; (2) “[t]o

examine and evaluate evidence developed by relevant Federal, State, and local government

agencies regarding the facts and circumstances surrounding” the attack; and (3) “[t]o build upon

the investigations of other entities and avoid unnecessary duplication of efforts by reviewing the

investigations, findings, conclusions, and recommendations of other” investigations into the

attack. H. Res. 503 § 3. The Select Committee’s “Function,” including issuance of a final report,

                                                 18
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 27 of 38




is limited to activities in furtherance of this defined and limited purpose. § 4(a)–(b). Notably, the

Select Committee expressly is forbidden from marking up legislation. § 4(d).

       In light of H. Res. 503, it is unclear what, if any, legislative purpose is served by the

Select Committee’s overly broad Salesforce Subpoena for proprietary and confidential RNC

data. Indeed, the Select Committee itself appears not to know. Chairman Thompson’s cover

letter transmitting the Salesforce Subpoena states that the Select Committee intends to “identify

and evaluate lessons learned and to recommend to the House and its relevant committees

corrective laws, policies, procedures, rules or regulations.” (Salesforce Subpoena at 1.) However,
a recent news article reports that the Select Committee may seek to justify its unconstitutional

subpoena with vague reference to amending campaign finance law. See Josh Dawsey, Jacqueline

Alemany, & Tom Hamburger, Inside the Jan. 6 Committee’s Effort to Trace Every Dollar Raised

and Spent Based on Trump’s False Election Claims, Wash. Post (Mar. 8, 2022),

https://wapo.st/3MPWViL. But such activity is clearly outside the scope of the Select

Committee’s limited purview of investigating the January 6 attack and its causes. Indeed, if this

professed interest in potentially passing remedial legislation is all the Constitution requires for a

“valid legislative purpose,” then, contra Watkins, there is no limit to the investigations upon

which Congress can embark.

       Indeed, since the passage of H. Res. 503, Speaker Pelosi and members of the Select

Committee have made countless public statements consistent with a view that the purpose of the

Select Committee is not legislative at all. For example, Rep. Schiff tweeted, “We will expose

those responsible for Jan 6. No one is above the law.” Adam Schiff (@RepAdamSchiff), Twitter

(Nov. 12, 2021, 4:54 PM), https://bit.ly/3wbcpYQ. And in an interview on December 29, 2021,

Rep. Kinzinger stated, “[w]e’ll be able to have out on the public record anything [the] Justice

Department needs maybe in [sic] in pursuit of [a crime].” Zachary Cohen & Annie Grayer,

January 6 Committee Says It Would Make Criminal Referrals If ‘Appropriate,’ But That Could

Be a Long Way Off, CNN (Dec. 21, 2021), https://cnn.it/3tcuDHe. Rep. Raskin has also

affirmed the law enforcement purpose of the investigation when he stated on multiple occasions

                                                 19
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 28 of 38




that no privilege (neither attorney-client nor executive) “operate[s] to shield participants in a

crime from an investigation into a crime.” Hugo Lowell, Capitol Panel to Investigate Trump Call

to Willard Hotel in Hours Before Attack, Guardian (Dec. 27, 2021), https://bit.ly/3tdj56I; see

also Jamie Raskin (@RepRaskin), Twitter (Dec. 2, 2021, 5:40 PM), https://bit.ly/3MRfu6a

(“Exec. privilege doesn’t cover criminal misconduct, like insurrections or coups … .”).

       To be clear, criminal investigation into the attack on January 6, 2021, and criminal

prosecution of those responsible for the event are entirely appropriate. But Congress through its

Select Committee is not the branch of government to do it. The Executive Branch (through law
enforcement and prosecutors) and the Judiciary (by hearing and deciding prosecutions) are the

branches to accomplish this task.

       Even if the Select Committee had a valid legislative purpose, the Salesforce Subpoena is

far too broad to bear a reasonable relationship to that purpose. It demands voluminous

documents protected by the First Amendment that have no relationship to the events of January

6, 2021. Because the Salesforce Subpoena was not issued in support of any legitimate legislative

purpose, and because even if the Select Committee’s law-enforcement-like investigation

untethered to any legislative purpose were legitimate, the Salesforce Subpoena’s requests are not

reasonably related to that purpose and the RNC is likely to prevail on the merits of this claim.

               The Salesforce Subpoena was not issued in accordance with H. Res. 503.
       The Select Committee also suffers from legal infirmity rendering its purported use of the

Congressional subpoena power ultra vires. On January 4, 2021, Congress adopted H. Res. 8,

which provides for the Rules of the One Hundred Sixteenth Congress. Section 3(b)(1) of H. Res.

8 provides that “the chair of a standing committee, upon consultation with the ranking minority

member of such committee, may order the taking of depositions, including pursuant to

subpoena, by a member or counsel of such committee.” (Emphasis added.) This requirement that

the Chairman consult with the “ranking minority member” before issuing a subpoena is

expressly applied to the Select Committee. H. Res. 503 § 5(c)(6)(A). The Select Committee,



                                                 20
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 29 of 38




however, has no ranking minority member with whom Chairman Thompson could consult before

issuing the Salesforce Subpoena.

       Instead, the Select Committee has a “Vice Chair.” Representative Cheney was named to

this position by Chairman Thompson on September 2, 2021. See Chairman Thompson

Announces Representative Cheney as Select Committee Vice Chair, supra. To the extent

Chairman Thompson effectively appointed Rep. Cheney the Select Committee’s Vice Chair, this

appointment violated House Rules. House Rule XI, clause 2(d) instructs that a committee chair

shall designate “[a] member of the majority party … as the vice chair of the committee.” Rep.
Cheney is a member of the Republican Conference of the House of Representatives. She is not a

member of the current majority party. Moreover, H. Res. 503 does not mention a “vice chair,”

much less authorize the chair to appoint a “vice chair.” See generally H. Res. 503. Defendants

have all but admitted there is no ranking member on the Select Committee. In a court pleading

filed on February 25, 2022, the Defendants described Rep. Cheney as the “Vice Chair” of the

Committee and, according to Defendants, the “most senior Republican Member of the Select

Committee” “for purposes of consultation prior to issuance of a subpoena under H.R. 503.”

Def.’s Mot. to Dismiss at 18, Flynn v. Pelosi, No. 8:21cv2946 (M.D. Fla. Feb. 25, 2022).

       The Select Committee’s lack of a ranking member for mandatory pre-subpoena

consultation is born of a larger infirmity in the Select Committee: it is not composed as required

under H. Res. 503. H. Res. 503 instructs the Speaker of the House to appoint thirteen members to

the Select Committee, only five of which “shall be appointed after consultation with the minority

leader.” § 2(a). Speaker Pelosi appointed Chairman Thompson to serve as Chair of the Select

Committee and appointed six additional Democrat members: Rep. Zoe Lofgren of California,

Rep. Adam Schiff of California, Rep. Peter Aguilar of California, Rep. Stephanie Murphy of

Florida, Rep. Jamie Raskin of Maryland, and Rep. Elaine Luria of Virginia. 167 Cong. Rec. 3597

(2021). House Republican Leader Kevin McCarthy recommended five Republican members to

serve on the Select Committee, consistent with H. Res. 503: Rep. James E. Banks of Indiana to

serve as Ranking Member and Reps. Rodney L. Davis of Illinois, James D. Jordan of Ohio,

                                                21
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 30 of 38




Kelly M. Armstrong of North Dakota, and Troy E. Nehls of Texas. 167 Cong. Rec. 3805, 3819–

20 (2021); Olivia Beavers & Heather Caygle, McCarthy Makes His 5 GOP Picks for Jan. 6

Select Committee, Politico (July 19, 2021), https://politi.co/37D5flX.

       In what she acknowledged was an “unprecedented decision,” Speaker Pelosi refused to

appoint Rep. Banks, Leader McCarthy’s choice for Ranking Member, and Rep. Jordan to the

Select Committee. Pelosi Statement on Republican Recommendations to Serve on the Select

Committee, supra. Instead, Speaker Pelosi appointed Rep. Adam Kinzinger and Rep. Liz

Cheney—the only two members of the Republican caucus who voted in favor of H. Res. 503—
and left the other seats vacant after Leader McCarthy rescinded his recommendations in protest.

See 167 Cong. Rec. 3805, 3819–20 (2021).

               The Salesforce Subpoena violates the Stored Communications Act.
       In the event the Court finds the RNC is unlikely to prevail on any of the claims argued

above—and only in that event—the Stored Communications Act, 18 U.S.C. §§ 2701 to 2712,

prohibits the Select Committee from obtaining some of the subpoenaed records from Salesforce.

Specifically, item one of the Salesforce Subpoena seeks the actual content of communications

stored on Salesforce’s servers by requesting the production of “message attributes” associated

with the RNC’s email campaigns, as well as the private communications of the RNC’s staff that

are stored on Salesforce’s servers. Items three and four of the Salesforce Subpoena request

Salesforce documents highly likely to include such material as well. Salesforce’s production of

such materials would be unlawful because, under the Stored Communications Act, Salesforce

may “not knowingly divulge to any person or entity the contents of a communication while in

electronic storage by that service” and may not “knowingly divulge a record or other information

pertaining to a subscriber to or customer of such service … to any governmental entity.”

§ 2702(a)(1), (3).

       Furthermore, Congress lacks the authority to subpoena those materials from an electronic

communication service. See generally § 2702(a), (b). Although content can be disclosed to a

“governmental entity” under specific, narrow circumstances, Congress is not a “governmental

                                               22
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 31 of 38




entity” because, as the legislative branch, it is not a “department or agency of the United States.”

§ 2711(4). And no other provision in the Act authorizes Congress to access the content sought by

the Salesforce Subpoena. Section 2702(a) therefore prohibits knowing disclosure of “the contents

of a communication” or any other customer record stored by Salesforce to the Select Committee

absent an express statutory exception outlined in § 2702(b) or (c).

       And none of the statutory exceptions in § 2702 apply to the Salesforce Subpoena. The

Select Committee cannot obtain the subpoenaed records under § 2702(c)(1) because disclosure

would not be “as otherwise authorized in section 2703.” § 2702(c)(1). Specifically, the Select
Committee has not—and cannot—obtain “a warrant issued using the procedures described in the

Federal Rules of Criminal Procedure … by a court of competent jurisdiction,” as would be

required to obtain records “in electronic storage in an electronic communications system for

more than one hundred and eighty days.” § 2703(a). Nor has the Select Committee provided

Plaintiff or Salesforce with “prior notice” and obtained either (i) “an administrative subpoena

authorized by a Federal or State statute or a Federal or State grand jury or trial subpoena” or (ii)

“a court order,” as would be required to obtain records “in electronic storage … for more than

one hundred and eighty days.” § 2703(a), (b)(1)(B)(i)–(ii). Hence, to the extent the Court

determines the RNC is unlikely to prevail on the merits of any of the claims argued above, the

Court should nonetheless enter a preliminary injunction prohibiting disclosure of materials in

response to items one, three, and four of the Salesforce Subpoena under the Stored

Communications Act.

II.    The RNC Will Be Irreparably Injured Absent a Preliminary Injunction.
       The unlawful Salesforce Subpoena has, and will continue to cause, irreparable harm to

the RNC and its donors, supporters, and other partners. “‘[A] prospective violation of a

constitutional right constitutes irreparable injury for ... purposes’ of ‘seeking equitable relief.’”

Karem v. Trump, 960 F.3d 656, 667 (D.C. Cir. 2020) (quoting Gordon v. Holder, 721 F.3d 638,

653 (D.C. Cir. 2013)); Archdiocese of Wash. v. Wash. Metro. Area Transit Auth., 897 F.3d 314,

334 (D.C. Cir. 2018) (“[T]he deprivation of constitutional rights constitutes irreparable injury ...

                                                  23
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 32 of 38




to the extent such deprivation is shown to be likely.”). This is particularly true for First

Amendment rights. “The loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Pursuing Am.’s Greatness v. FEC, 831 F.3d 500,

511 (D.C. Cir. 2016) (quoting Mills v. Dist. of Columbia, 571 F.3d 1304, 1312 (D.C. Cir. 2009)

(internal quotation marks omitted); see also Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality

opinion) (same). Even the potential for chilling First Amendment rights is a violation, and in

turn, irreparable harm. See DeGuiseppe v. Vill. of Bellwood, 68 F.3d 187, 192 (7th Cir. 1995)

(“[R]etaliation need not be monstrous to be actionable under the First Amendment; it need
merely create the potential for chilling … speech on matters of public concern.”).

       Courts in this District routinely find irreparable harm when government action infringes

First Amendment protections. See, e.g., Turner v. U.S. Agency for Glob. Media, 502 F. Supp. 3d

333, 386 (D.D.C. 2020), appeal dismissed, No. 20-5374 (D.C. Cir. May 17, 2021) (irreparable

harm to journalists’ speech rights relating to “defendants’ taking or influencing personnel actions

against individual journalists or editors, attempting to influence content through communications

with individual journalists or editors, and investigating purported breaches of journalistic

ethics”); Price v. Barr, 514 F. Supp. 3d 171, 195 (D.D.C. 2021) (irreparable harm to filmmaker’s

speech rights related to “commercial filming plans” due to “unconstitutional permitting

restrictions” for films on government property); People for the Ethical Treatment of Animals,

Inc. v. Gittens, 215 F. Supp. 2d 120, 127, 134–35 (D.D.C. 2002) (irreparable harm to PETA’s

speech rights related to refusal “to accept its … sad circus elephant design in the Party Animals

public art exhibit”). See also Americans for Prosperity Found. v. Harris, No. 2:14-CV-09448-R-

FFM, 2015 WL 769778, at *1–2 (C.D. Cal. Feb. 23, 2015) (irreparable harm to foundation’s

First Amendment rights related to compelled disclosure of confidential information including

donor rolls), vacated and remanded, 809 F.3d 536 (9th Cir. 2015), overruled on other grounds

sub nom. Americans for Prosperity Found. v. Bonta, 141 S. Ct. 2373 (2021).

       Disclosure of the information demanded in the broad categories in the Salesforce

Subpoena will result in analogous irreparable harm—both direct and indirect. The direct harm

                                                  24
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 33 of 38




includes harm to the RNC, as well as people who associate with the RNC and the Republican

candidates (e.g., donors, supporters, and other partners). Salesforce “is a key data and digital

communications vendor to RNC” (Schaeffer Decl. ¶ 14), housing data and records of tens of

millions of RNC donors, supporters, and other partners. (Id. ¶ 15.) The Salesforce platforms are

integral to the RNC’s political operation, assisting with its “core political functions such as

recruiting volunteers, conveying political messaging in support of the RNC’s preferred

candidates and policies, GOTV [“Get Out to Vote”] efforts, and fundraising.” (Id. ¶ 14.)

Production of the RNC’s underlying “data and analytics hosted on these platforms [will] cause
significant harm” to the RNC’s political operations and could “be used to create a mosaic of the

RNC’s confidential, and highly sought after, digital political strategy.” (Id. ¶ 18.)

       Production of the materials as demanded by the subpoena would inflict competitive and

monetary harm on the RNC by providing its political opponents and fundraising competitors

with unfettered access to “highly confidential information regarding RNC digital, political, and

fundraising strategy, as well as personal information relating to millions of its supporters,”

thereby eroding “the RNC’s competitive advantage over other groups that compete to target

similar demographics in conveying political messaging and fundraising.” (Id. ¶ 24.) This

information would reveal to the RNC’s competitors and political opponents “crucial elements of

the RNC’s digital strategy such as metrics on how certain content performs, what subject lines

and text messages lead to contributions, how certain individuals respond to specific content, and

the results of A/B testing.” (Id. ¶ 25.) This information not just important in terms of the RNC’s

ability to compete politically, it has independent monetary value that will be diluted as soon as it

is produced to the Select Committee. (Id. ¶ 27.)

       Additionally, the RNC associational strength is a direct product of its ability to keep

certain information confidential. Critically, this includes how donors, supporters, and other

partners interact and communicate with the RNC through Salesforce platforms. If these

individuals’ associational contacts with the RNC are revealed (including non-public emails and

phone numbers; RNC-initiated communications they opened, clicked on, or otherwise interacted

                                                   25
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 34 of 38




with; and responses to RNC communications) (id. ¶ 17.a–k), they are less likely to engage with

the RNC through these critical mediums, see Buckley v. Valeo, 424 U.S. 1, 68 (1976) (“It is

undoubtedly true” that mandatory disclosures “will deter some individuals who otherwise might

contribute” and “may even expose contributors to harassment or retaliation.”); Bonta, 141 S. Ct.

at 2388 (“Our cases have said that disclosure requirements can chill association ‘[e]ven if there

[is] no disclosure to the general public.’”).

        The direct harm is not limited to the RNC. Its donors, supporters, and other partners have

and will be harmed by Defendants’ overly broad subpoena requests. First, the Salesforce
Subpoena seeks information reaching the identity of RNC-affiliated individuals, infringing on

their right to privacy in political affiliation. This is particularly problematic for small-dollar

donors (i.e., those giving less than the $200 reporting threshold), volunteers, and other supporters

whose association with the RNC may not be public. (Id. ¶ 17.a–k.) Second, as explained, the

Salesforce Subpoena is astounding in scope, seeking

           performance metrics and analytics related to email campaigns;
           delivery metrics (send rates and bounce rates), engagement metrics (opens, open
            rates, click rates, and click-to-open rates), time attributes, and message attributes;
           login sessions by individuals associated with the Trump Campaign or the RNC into
            Salesforce’s Marketing Cloud platform; and
           all communications between Salesforce representatives and representatives of the
            RNC or the Trump Campaign concerning any of the facts and circumstances of the
            topics that are the subject of any of the above requests.

(Salesforce Subpoena at 3.) This fishing-expedition-type request for associational contacts

between the RNC’s and millions of other Americans (donors, supporters, and other partners) is

guaranteed to infringe First Amendment protections of these individuals. For example, using the

information that the Salesforce Subpoena demands, the government and members of the public

would be able to determine an individual’s position on controversial issues and the candidates

they support by examining how they responded to specific RNC communications including

surveys, petitions, and fundraising appeals. (Schaeffer Decl. ¶ 19.) This sort of injury is


                                                  26
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 35 of 38




especially troubling considering Defendants’ infinitesimally small interest in information from

individuals who had no connection to the January 6th attack on the United States Capitol. Third,

donors, supporters and other partners will be harmed by the disclosure of nonpublic emails,

phone numbers, and data underlying message interactions with the RNC. If this information is

disclosed, “the very right sought to be protected” will be destroyed. In re Sealed Case No. 98-

3077, 151 F.3d 1059, 1065 (D.C. Cir. 1998) (quoting In re Ford Motor Co., 110 F.3d 954, 963

(3d Cir. 1997)).

       The threat of irreparable indirect harm is real as well. The release of the information
requested in the Salesforce Subpoena will expose donors, supporters, and other partners of the

RNC and Republican candidates to the risk of “economic reprisal, loss of employment, threat of

physical coercion, and other manifestations of public hostility” by individuals opposed to their

association with the RNC ,Republican candidates, and Republican policies. NAACP v. Alabama,

357 U.S. 449, 462 (1958). Undoubtedly, some individuals associate and interact with the RNC

on the basis on anonymity. Disclosure of their relationship with the RNC, as well as granular

data related to their relationship, which is surely to be mined by political foes, risks subjecting

these individuals to a flood of hostile responses—from being cancelled on social media (less

severe), to economic reprisal or loss of employment (more severe), to threats of life and limb

(most severe). Disclosure also arbitrarily and unfairly associates these individuals to the events

of January 6th. Absent relief from this Court, such irreparable harm looms.

       To be clear, there has been no assurances that this information will be protected,

including failing to establish safeguards for privileged information or other information protected

by the First Amendment. Further, the Select Committee has demonstrated that it cannot be

trusted to keep private information secure. For example, in at least one instance, information

regarding private communications only available to the Select Committee was leaked to the

Washington Post. See Jacqueline Alemany, et al., Texting Through an Insurrection, Wash. Post

(Feb. 16, 2022), https://wapo.st/3CLZXzV. This demonstrates the reality of the irreparable harm



                                                 27
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 36 of 38




the RNC and its supporters will face if Salesforce is forced to turn over the information

demanded by the Select Committee.

       The Court should preliminarily enjoin disclosure in response to the Salesforce Subpoena

to stop Defendants from irreparably harming the RNC and its donors, supporters, and other

partners, including by trampling foundational associational rights

III.   The Balance of Equities and Public Interest Strongly Favor Injunctive Relief.
       Where a party seeks a preliminary injunction against the government, the balance of

equities and public’s interest “merge.” Karem v. Trump, 960 F.3d 656, 668 (D.C. Cir. 2020)

(quoting Nken v. Holder, 556 U.S. 418, 435 (2009)); Turner v. U.S. Agency for Glob. Media, 502

F. Supp. 3d 333, 385 (D.D.C. 2020), appeal dismissed, No. 20-5374 (D.C. Cir. May 17, 2021).

The inquiry therefore “generally call[s] for weighing the benefits to the private party from

obtaining an injunction against the harms to the government and the public from being

enjoined.” Doe v. Mattis, 928 F.3d 1, 23 (D.C. Cir. 2019). That this factor favors the RNC is

“self-evident”: “‘[T]he Constitution is the ultimate expression of the public interest,’ and

consequently, government actions in contravention of the Constitution are ‘always contrary to

the public interest,’” Turner, 502 F. Supp. 3d at 386 (citations omitted) (quoting Gordon v.

Holder, 721 F.3d 638, 653 (D.C. Cir. 2013)); Simms v. Dist. of Columbia, 872 F. Supp. 2d 90,

105 (D.D.C. 2012) (“It is always in the public interest to prevent the violation of a party’s

constitutional rights.” (internal quotation omitted)).

       Absent preliminary relief, the RNC’s constitutional rights, including significant First

Amendment rights, will be eviscerated. The information Defendants request is imbued with

multiple layers of constitutional protections that must be afforded due consideration prior to any

disclosure. Indeed, unless the status quo is maintained (nondisclosure of the requested

information), “the very right[s] sought to be protected” will be destroyed. In re Sealed Case No.

98-3077, 151 F.3d 1059, 1065 (D.C. Cir. 1998) (quoting In re Ford Motor Co., 110 F.3d 954,

963 (3d Cir. 1997)); cf. Providence J. Co. v. FBI, 595 F.2d 889, 890 (1st Cir. 1979) (“Once the

documents are surrendered … confidentiality will be lost for all time. The status quo could never

                                                 28
        Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 37 of 38




be restored.”); Metro. Life Ins. Co. v. Usery, 426 F. Supp. 150, 172 (D.D.C. 1976) (“Once

disclosed, such information would lose its confidentiality forever.”); PepsiCo, Inc. v. Redmond,

No. 94 C 6838, 1996 WL 3965, at *30 (N.D. Ill. 1996) (“[J]ust as it is impossible to unring a

bell, once disclosed … confidential information lose[s] [its] secrecy forever … .”).

       Further, granting injunctive relief will cause no harm to Defendants other than preventing

them from enforcing an overly broad an unlawful subpoena against Salesforce. “There is

generally no public interest in the perpetuation of unlawful [government] action.” League of

Women Voters of United States v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). “Put simply, ‘[t]he
Constitution does not permit [the government] to prioritize any policy goal over’ constitutional

rights.” Turner, 502 F. Supp. 3d at 386 (quoting Gordon v. Holder, 721 F.3d at 653). Even more,

as argued above, the Select Committee is unlawfully constituted, and, even so, lacks the

legislative authority to issue the Salesforce Subpoena. Thus, granting injunctive relief will do no

harm to Defendants, while ensuring the RNC’s constitutional rights remain intact. The balance of

the equities therefore weigh decidedly in favor of granting preliminary injunctive relief.

                                         CONCLUSION
       Based on the foregoing, the RNC respectfully requests that the Court grant its motion for

preliminary injunction and enter an order enjoining Defendant Salesforce from producing

information, or sitting for a deposition, in response to the Salesforce Subpoena.




                                                29
       Case 1:22-cv-00659-TJK Document 8-1 Filed 03/15/22 Page 38 of 38




Respectfully submitted this 15th day of March, 2022.

                                         BROWNSTEIN HYATT FARBER SCHRECK, LLP

                                         By:    s/ Christopher O. Murray
                                                Christopher O. Murray
                                                Julian R. Ellis, Jr. (pro hac vice pending; full
                                                admission pending)
                                                410 17th Street, Suite 2200
                                                Denver, CO 80202
                                                Telephone: 303.223.1100
                                                Fax: 303.223.1111
                                                Email: cmurray@bhfs.com
                                                        jellis@bhfs.com

                                         Attorneys for Plaintiff Republican National
                                         Committee




                                               30
